          Case 2:04-cr-20044-KHV Document 634 Filed 05/17/22 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                 )
                                          )
                        Plaintiff,        )
                                          )                 CRIMINAL ACTION
            v.                            )
                                          )                 No. 04-20044-01-KHV
ANDRE IVORY,                              )
                                          )
                        Defendant.        )
__________________________________________)

                               MEMORANDUM AND ORDER

        On February 1, 2022, the Court sustained in part defendant’s motion for compassionate

release and reduced his controlling sentence from life in prison to 360 months in prison and a

special term of supervised release of 60 months of home confinement. This matter is before the

Court on defendant’s Motion For Clarification/Notice Of Appeal (Doc. #627) filed May 9, 2022.

        The Court declines to consider defendant’s pro se motion to clarify because defendant is

represented by counsel who did not sign the document. See United States v. Sandoval-DeLao, 283

F. App’x 621, 625 (10th Cir. 2008) (no error in refusal to consider pro se motion when defendant

represented by counsel); United States v. McKinley, 58 F.3d 1475, 1480 (10th Cir. 1995) (no

constitutional right to hybrid form of representation). On the other hand, defendant may file a pro

se notice of appeal. The Clerk originally docketed defendant’s filing only as a motion for

clarification.   Accordingly, the Clerk is directed to re-docket defendant’s Motion For

Clarification/Notice Of Appeal (Doc. #627) as both a motion for clarification and a notice of

appeal, and process defendant’s notice of appeal as being filed on May 9, 2022.

        IT IS THEREFORE ORDERED that the Clerk is directed to re-docket defendant’s

Motion For Clarification/Notice Of Appeal (Doc. #627) as both a motion for clarification and a
         Case 2:04-cr-20044-KHV Document 634 Filed 05/17/22 Page 2 of 2




notice of appeal, and process defendant’s notice of appeal as being filed on May 9, 2022.

       IT IS FURTHER ORDERED that defendant’s Motion For Clarification/Notice Of

Appeal (Doc. #627) filed May 9, 2022 is OVERRULED.

       Dated this 17th day of May, 2022 at Kansas City, Kansas.

                                                    s/ Kathryn H. Vratil
                                                    KATHRYN H. VRATIL
                                                    United States District Judge




                                                2
